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     In The United States Court of Federal Claims
                                              No. 11-711C

                                  (Filed: September 14, 2012)
                                          __________

  MODERN IMAGING SOLUTIONS, INC.,

                                 Plaintiff,
                          v.

  THE UNITED STATES,

                                Defendant.
                                                ________

                                                ORDER
                                               __________

        On September 13, 2012, the parties filed a joint status report proposing a schedule for
further proceedings in this case. Accordingly, the case shall proceed as follows:

       1.       On or before September 24, 2012, defendant shall file its answer;

       2.       On or before October 15, 2012, the parties shall file a joint preliminary
                status report;

       3.       On or before November 2, 2012, the parties shall exchange initial
                disclosures;

       4.       On or before April 29, 2013, fact discovery shall conclude; and

       6.       On or before May 13, 2013, the parties shall file a joint status report
                proposing further proceedings and stating whether expert discovery is
                necessary or whether either party intends to file a motion for summary
                judgment, and if so, proposing a schedule for such a filing.

       IT IS SO ORDERED.


                                                       s/ Francis M. Allegra
                                                       Francis M. Allegra
                                                       Judge
